         Case 18-50214-rlj11 Doc 256 Filed 09/14/18      Entered 09/14/18 16:27:43      Page 1 of 9



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        PROPOSED COUNSEL TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.
                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

            IN RE:                                          §
                                                            §
            REAGOR-DYKES MOTORS, LP, et al.1                § Case No. 18-50214-rlj-11
                                                            § Jointly Administered
                                        Debtor.             §

                            APPLICATION FOR AUTHORITY TO EMPLOY
                        ELM TREE ADVISORS V LLC AS INVESTMENT BANKER

                   Reagor-Dykes Motors, LP; Reagor-Dykes Imports, LP; Reagor-Dykes Amarillo, LP;

        Reagor-Dykes Auto Company, LP; Reagor-Dykes Plainview, LP; Reagor-Dykes Floydada, LP

        (collectively, “Reagor-Dykes” or the “Debtors”), as debtors and debtors-in-possession in the

        above-styled and captioned case hereby file this Application for Authority to Employ Elm Tree

        Advisors V LLC as Investment Banker (the “Application”). In support of the Application, the
        Debtors respectfully represent as follows:




        1
          The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo
        (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes
        Plainview, LP (Case No. 18-50218), and Reagor-Dykes Floydada, LP (Case No. 18-50219).

        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                          – Page 1
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18         Entered 09/14/18 16:27:43       Page 2 of 9



                                                   I.
                                        JURISDICTION AND VENUE

                   1.   This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

        This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and venue is

        proper under 28 U.S.C. §§ 1408 and 1409.

                   2.   The legal predicates for the relief requested in this Motion are §§ 105(a), 363,

        365, 503(b), 507(a), 541, 1107(a), and 1108 of title 11 of the United States Code (the

        “Bankruptcy Code”), and rules 2002, 6004, 6006, 9007, and 9014 of the Federal Rules of

        Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                    II.
                                                BACKGROUND

                   3.   On On August 1, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

        for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), thereby

        initiating the above-captioned, jointly-administered bankruptcy cases (the “Chapter 11 Cases”) in

        the Bankruptcy Court for the Northern District of Texas (the “Court”) and creating their

        bankruptcy estates (the “Estates”). Together with two non-debtor entities, Reagor Auto Mall,

        Ltd. and Reagor Dykes Snyder, LP, the Debtors operate eight (8) dealerships with thirteen (13)

        locations – twelve (12) in West Texas and one (1) location in Dallas – as a consolidated group

        (collectively, the “Dealerships”).

                   4.   The Debtors continue to operate and to manage their businesses as “debtors-in-

        possession” pursuant to §§ 1107 and 1108 of the Bankruptcy Code. However, on August 30,

        2018, BlackBriar Advisors, L.L.P. (“BlackBriar”) was approved on a final basis by the Court as

        Chief Restructuring Officer of the Debtors.

                   5.   On August 30, 2018, this Court approved Mullin Hoard & Brown, L.L.P.’s

        withdrawal as counsel to the Debtors effective as of August 21, 2018.

        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                               – Page 2
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18          Entered 09/14/18 16:27:43      Page 3 of 9



                   6.   Subject to this Court’s approval, the Debtors hired the undersigned as

        (replacement) counsel to the Debtors effective as of August 22, 2018. On September 10, 2018,

        the Debtors filed their Application for an Order Pursuant to 11 U.S.C. § 327(a) and Bankruptcy

        Rules 2014 and 2016 Authorizing Employment and Retention of Foley Gardere, Foley &

        Lardner LLP, as Counsel to the Debtors and Debtors-in-Possession Effective August 22, 2018

        [Docket No. 254].


                                                       III.
                                               RELIEF REQUESTED

                   7.   In connection with this Application, Reagor-Dykes intends to file shortly a

        Motion for Entry of an Order (I) Authorizing and Approving: (A) Bid Procedures, (B) Form of

        Asset Purchase Agreement; and (C) Form and Manner of Notices; (II) Scheduling an Auction

        and Sale Hearing; (III) Approving the Sale of Substantially All of Reagor-Dykes’ Assets Free

        and Clear of All Liens, Claims, Encumbrances, and Interests; and (IV) Granting Related Relief

        (the “Sale Motion”) seeking entry of an order approving first bid procedures for, and then

        secondly approving the sale of all or substantially all of Reagor-Dykes’ assets.

                   8.   After considering all available options, and after consultation with the CRO,

        putative new undersigned counsel, and other interested parties, Reagor-Dykes has determined

        that the most prudent course of action forward in these case is to conduct a sale process for the

        orderly sale of all or substantially all of Reagor-Dykes’ assets under section 363 of the

        Bankruptcy Code, to the highest and best bidder, pursuant to a Court approved auction process.

        By this Application, Reagor-Dykes seeks authority to employ and retain Elm Tree Advisers V

        LLC (“Elm Tree”) pursuant to Bankruptcy Code § 327 and 328(a) to provide financial advisory

        consulting services to ensure that the ultimate price paid for Reagor-Dykes’ assets is the highest

        and best price the market will bear.

        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                               – Page 3
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18           Entered 09/14/18 16:27:43        Page 4 of 9



                                                     IV.
                                     SCOPE OF ASSISTANCE TO BE PROVIDED

                   9.     Reagor-Dykes seeks authority to engage Elm Tree during these Chapter 11 Cases

        to assist Reagor-Dykes in the marketing and sale of all or substantially all of its assets, after

        notice and an opportunity for hearing, pursuant to a properly filed and noticed Sale Motion. As

        consultants and advisors to Reagor-Dykes, Elm Tree may perform the following services as may

        be requested by the Debtors:


                                 i       assist Reagor-Dykes in the review and distribution of marketing
                                         and related solicitation materials, including financial projections
                                         and business plan presentations, in an effort to create interest in
                                         and to consummate a sale(s) of assets;

                                 ii      canvas the marketplace to identify and contact potential qualified
                                         buyers, evaluate indications of interest and proposals regarding a
                                         sale(s) from potential purchasers;

                                 iii     work closely with the Debtors’ professionals to assist first in
                                         collecting and coalescing information for a data room, and second
                                         coordinating and arranging for potential buyers to conduct due
                                         diligence investigations, together with the execution of normal and
                                         customary non-disclosure agreements, and participating as a
                                         representative of Reagor-Dykes in negotiations with potential
                                         purchasers and their advisors;

                                 iv      assist Reagor-Dykes with the development, structuring, negotiation
                                         and implementation of any sale(s);

                                 v       advise and attend meetings of Reagor-Dykes’ principals, creditor
                                         groups, official constituencies and other interested parties, as
                                         Reagor-Dykes determines to be necessary or desirable; and

                                 vi      provide such other financial advisory services as may be agreed
                                         upon by Elm Tree and Reagor-Dykes.

                                                V.
                         ELM TREE’S QUALIFICATIONS AND DISINTERESTEDNESS

                   10.    Reagor-Dykes has made a diligent inquiry into the qualifications and competence

        of Elm Tree and believes that Elm Tree is quite capable of providing the financial advisory


        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                                 – Page 4
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18          Entered 09/14/18 16:27:43      Page 5 of 9



        services detailed above. Reagor-Dykes has selected Elm Tree based on its experience and

        expertise in assisting clients in evaluating their capital structure, and identifying and pursuing

        financing in the senior secured and mezzanine financial market spaces. Elm Tree is not a

        creditor, insider or affiliate of the Debtors, and has not provided any services to the Debtors or

        their principals other than as described herein.

                   11.   Elm Tree’s principal, John Thompson, Jr. did provide similar services as those

        proposed via this Application to Reagor-Dykes prepetition. Specifically, Mr. Thompson and

        Elm Tree were engaged as advisors to Reagor-Dykes for approximately sixteen (16) months

        prior to these cases being filed for the express purpose of addressing the companies’ capital

        needs. Mr. Thompson and Elm Tree were paid for the services as and when provided, but Mr.

        Thompson was not an employee of any Reagor-Dykes entity, and neither Mr. Thompson nor Elm

        Tree was owed any money by any one of the Debtors on the petition date. Given Elm Tree’s

        expertise in advising distressed companies generally and Mr. Thompson and Elm Tree’s

        familiarity with these Debtors specifically, Reagor-Dykes believes that the employment of Elm

        Tree is necessary and in the best interests of the Debtors’ estates. A Declaration executed by

        Elm Tree’s principal Mr. Thompson, describing both Elm Tree’s qualifications, prior experience

        with the Debtors and disinterestedness is attached hereto as Exhibit A and incorporated as if

        fully set forth herein.


                                                   VI.
                                       PROFESSIONAL COMPENSATION

                   12.   Subject to this Court’s approval Reagor-Dykes proposes the following

        compensation for Elm Tree:


                                  DEFERRED COMPENSATION FEE. To engage Elm Tree to perform
                                  financial advisory and consulting services, Reagor-Dykes shall pay Elm

        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                               – Page 5
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18           Entered 09/14/18 16:27:43       Page 6 of 9



                                Tree a fee equal to 1.00% of the total value of the investment into or on
                                behalf of Reagor-Dykes and obligations of Reagor-Dykes assumed by any
                                third party incident to the closing of a sale pursuant to the Sale Motion
                                (the “Fee”).

                                EXPENSE REIMBURSEMENT. Without regard to whether a sale is
                                consummated, reasonable and documented out-of-pocket travel and
                                lodging expenses incurred by Elm Tree during the term of the engagement
                                in connection with the services rendered hereunder (the “Expenses”).

                                                     VII.
                                              BASIS FOR RELIEF

                   13.   Reagor-Dykes seeks approval of the Fee and Expenses pursuant to section 328(a)

        of the Bankruptcy Code, which provides, in relevant part, that Reagor-Dykes “with the court's

        approval, may employ or authorize the employment of a professional person under section 327 ...

        on any reasonable terms and conditions of employment, including on a retainer ....” 11 U.S.C. §

        328(a). Consequently, section 328(a) of the Bankruptcy Code permits this Court to approve the

        terms of Elm Tree’s engagement as set forth herein.

                   14.   Section 328 of the Bankruptcy Code permits the compensation of professionals on

        flexible terms that more accurately reflect the nature of their services and market conditions. As

        the United States Court of Appeals for the Fifth Circuit has recognized:

                         Prior to 1978 the most able professionals were often unwilling to
                         work for bankruptcy estates where their compensation would be
                         subject to the uncertainties of what a judge thought the work was
                         worth after it had been done. That uncertainty continues under the
                         present § 330 of the Bankruptcy Code, which provides that the
                         court award to professional consultants "reasonable
                         compensation" based on relevant factors of time and comparable
                         costs, etc. Under present § 328 the professional may avoid that
                         uncertainty by obtaining court approval of compensation agreed to
                         with the trustee (or debtor or committee).

         In re National Gypsum Co., 123 F.3d 861, 862 (5th Cir. 1997) (internal citations omitted).




        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                               – Page 6
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18            Entered 09/14/18 16:27:43         Page 7 of 9



                   15.   Furthermore, under the Bankruptcy Abuse Prevention and Consumer Protection

        Act of 2005, certain modifications were made to section 328(a) of the Bankruptcy Code, which

        now provides as follows:

                         The trustee, or a committee appointed under section 1102 of this
                         title, with the court's approval, may employ or authorize the
                         employment of a professional person under section 327 or 1103 of
                         this title, as the case may be, on any reasonable terms and
                         conditions of employment, including on a retainer, on an hourly
                         basis, on a fixed percentage fee basis, or on a contingent fee basis.

        11 U.S.C. § 328(a) (emphasis added). Section 328(a) of the Bankruptcy Code, as amended, now

        makes clear that debtors may retain, subject to bankruptcy court approval, a professional on a

        contingent basis such as that proposed by the Debtors herein.

                   16.   Reagor-Dykes submits that the compensation structure proposed herein (i)

        appropriately reflects the nature and scope of services to be provided by Elm Tree, and (ii) is

        consistent with the compensation structures typically utilized by Elm Tree in transactions similar

        to the prospective sale(s) and with that of other leading financial advisory and consulting

        companies who do not bill their clients on an hourly basis. Elm Tree does not customarily

        maintain detailed time records similar to those customarily maintained by attorneys, and Elm

        Tree’s services will not be compensated by reference to the number of hours spent on its efforts

        to negotiate and consummate a sale transaction, but on the ultimate price if/as/when Reagor-

        Dykes’ assets are sold. Reagor-Dykes therefore requests that Elm Tree be relieved of the

        obligation to record its time on an hourly basis or in other increments thereof.

                   17.   Reagor-Dykes believes that the terms and conditions of the proposed

        compensation of Elm Tree are fair, reasonable and market-based under the standards set forth in

        section 328(a) of the Bankruptcy Code. Reagor-Dykes does not intend to file any other or

        further application(s) for allowance of Elm Tree’s Fee and Expenses with this Court; Elm Tree’s


        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                                  – Page 7
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18           Entered 09/14/18 16:27:43         Page 8 of 9



        compensation will instead be subject to the standard of review of section 328(a) of the

        Bankruptcy Code.

                   18.   Reagor-Dykes’ retention of Elm Tree will benefit the estate by providing them

        with objective and skilled professionals to assist in, among other things, evaluating and

        implementing a sale(s) of all or substantially all of their assets for the highest and best price, all

        in accordance with the Sale Motion. Accordingly, such employment is in the best interests of

        Reagor-Dykes’ estate, creditors, and other parties in interest.

                   WHEREFORE, based upon the foregoing, Reagor-Dykes respectfully requests that the

        Court enter an Order authorizing Reagor-Dykes to engage Elm Tree on the terms described

        above pursuant to sections 327 and 328 (a) of the Bankruptcy Code and granting such other and

        further relief as the Court may deem just and proper.


        DATED: September 14, 2018                      Respectfully submitted by:


                                                       /s/ Marcus A. Helt
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        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                                   – Page 8
4815-1228-4529.3
         Case 18-50214-rlj11 Doc 256 Filed 09/14/18       Entered 09/14/18 16:27:43      Page 9 of 9



                                            Certificate of Service

                I hereby certify that, on September 14, 2018, a true and correct copy of the foregoing
        document was served electronically by the Court’s PACER system, and in the form and manner
        as set forth hereinabove.


                                                   /s/ Marcus A. Helt
                                                   Marcus A. Helt




        APPLICATION FOR AUTHORITY TO EMPLOY ELM TREE ADVISORS V LLC                           – Page 9
4815-1228-4529.3
